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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________

MARGARET ANDREWS,

                                    Plaintiff,
      v.                                                   Civil Action No. ___________

MRS BPO, LLC d/b/a MRS ASSOCIATES.

                              Defendant.
________________________________________

                    COMPLAINT AND DEMAND FOR JURY TRIAL

                                    I. INTRODUCTION

   1. This is an action for actual and statutory damages brought in response to Defendant’s
      violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
      "FDCPA") which prohibits debt collectors from engaging in abusive, deceptive, and unfair
      practices.

                                 II. JURISDICTION AND VENUE

  2. Jurisdiction of this court arises under 15 U.S.C. §1692k(d) and 28 U.S.C. § 1331.

  3. Venue is proper in this district under 28 U.S.C. §1391(b) in that the Defendant transacts
     business here and the conduct complained of occurred here.

                                          III. PARTIES

  4. Plaintiff, Margaret Andrews, is a natural person residing in the County of Niagara and State
     of New York and is a “consumer” as that term is defined by 15 U.S.C. §1692a(3).

  5. Defendant, MRS BPO, LLC (hereinafter “MRS”) is a foreign business corporation
     organized and existing under the laws of the State of New Jersey and is a “debt collector”
     as that term is defined by 15 U.S.C. §1692a(6).

  6. Defendant regularly attempts to collect debts alleged to be due another.

  7. The acts of the Defendant alleged hereinafter were performed by its employees acting
     within the scope of their actual or apparent authority.

  8. All references to “Defendant” herein shall mean the Defendant or an employee of the
     Defendant.



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                            IV. FACTUAL ALLEGATIONS

9. That Plaintiff allegedly incurred a debt to Verizon Wireless (“Verizon”). This debt will be
   referred to as “the subject debt.”

10. That the subject debt arose out of a transaction in which money, services or property, which
    was the subject of the transaction, was primarily for personal, family and/or household
    purposes. As such, said debt is a “debt” as that term is defined by 15 U.S.C. §1692a(5).

11. That upon Plaintiff thereafter allegedly defaulted on the subject debt.

12. That upon information and belief, Defendant was employed by Verizon to collect the
    subject debt.

13. That on or about August 15, 2020, Defendant sent a letter to the Plaintiff in an attempt to
   collect the alleged subject debt.

14. That the August 15, 2020 letter from the Defendant states that the balance is $207.00 and
    that there are collection fees of $20.70 for a total amount due of $227.70.

15. That said collection fees are improper in that they are an add-on to the balance alleged
    owed by the creditor.

16. That Plaintiff never agreed to pay any “collection fees” to the creditor or the Defendant.

17. In the alternative, in the event that there are some actual factual and legal grounds for the
    imposition of “collection fees”, Defendant’s alleged amount of $20.70 is not based on the
    actual amount of costs associated with the Defendant’s collection effort.

18. The above-described collection conduct by Defendant in its efforts to collect this alleged
    debt from Plaintiff were oppressive, deceptive, misleading, unfair and illegal
    communications in an attempt to collect this alleged debt, all done in violation of numerous
    and multiple provisions of the FDCPA.

19. These collection actions taken by Defendant, and the collection employees employed by
    Defendant, were made in violation of multiple provisions of the FDCPA, including but not
    limited to all of the provisions of those laws cited herein.

20. These violations by Defendant were knowing, willful, negligent and/or intentional, and
    Defendant did not maintain procedures reasonably adapted to avoid any such violations.

21. Defendant's collection efforts with respect to this alleged debt from Plaintiff caused
    Plaintiff to suffer concrete and particularized harm because the FDCPA provides Plaintiff
    with the legally protected right to be treated fairly and truthfully with respect to any action
    for the collection of any consumer debt.




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   22. Defendant's deceptive, misleading and unfair representations with respect to its collection
       effort were material misrepresentations that affected and frustrated Plaintiff's ability to
       intelligently respond to Defendant's collection efforts.

   23. That as a result of Defendant’s acts, Plaintiff became nervous, upset, anxious, and suffered
       from emotional distress.

                                   V. CAUSE OF ACTION

   24. Plaintiff repeats, re-alleges and incorporates by reference the allegations contained in
       paragraphs 1 through 23 above.

   25. The conduct of Defendant as described in this complaint violated the Fair Debt Collection
       Practices Act (15 U.S.C. § 1692 et seq.) as follows:

                   A. Defendant violated 15 U.S.C. §1692c(c) by send the March 27, 2020 letter
                      to the Plaintiff and continuing to communicate with Plaintiff with respect
                      to the subject debt after receipt of Plaintiff’s letter disputing the debt and
                      refusing to pay it.

   26. That as a result of the Defendant’s FDCPA violations as alleged herein, Plaintiff became
       nervous, upset, anxious and suffered from emotional distress.


WHEREFORE, Plaintiff respectfully requests that judgment be entered against the Defendant
for:

       (a) Actual damages;

       (b) Statutory damages for pursuant to 15 U.S.C. § 1692k.

       (c) Costs, disbursements and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k.

       (d) For such other and further relief as may be just and proper.




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                                    VI. JURY DEMAND

             Please take notice that Plaintiff demands trial by jury in this action.

Dated: August 13, 2021



                                                             /s/ Seth J. Andrews _____________
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